 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page12ofof16
                                                                     17PageID
                                                                        PageID#:#:958
                                                                                   940



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK



   SIGNIFY NORTH AMERICA CORPORATION
   and SIGNIFY HOLDING B.V.
                                                           Civil Action No. 2:19-cv-06125-JMA-SIL
                                   Plaintiffs,

   v.

   SATCO PRODUCTS, INC.

                                   Defendant.


                        [SIGNIFY’S PROPOSED] PROTECTIVE ORDER

          WHEREAS, Plaintiffs Signify North America Corporation and Signify Holding B.V.

  (“Signify”) and Defendant Satco Products, Inc. (“Satco”), hereafter referred to as “the Parties,”

  believe that certain information that is or will be encompassed by discovery demands by the Parties

  involves the production or disclosure of trade secrets, confidential business information, or other

  proprietary information;

          WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

  Federal Rule of Civil Procedure 26(c):

          THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

          1.      Each Party may designate as confidential for protection under this Order, in whole or

  in part, any document, information or material that constitutes or includes, in whole or in part,

  confidential or proprietary information or trade secrets of the Party, or a person or entity that is not

  a Party in this Action (“Third Party”), to whom the Party reasonably believes it owes an obligation

  of confidentiality with respect to such document, information or material (“Protected Material”).

  Protected Material shall be designated by the Party producing it by affixing a legend or stamp




                                                     1
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page23ofof16
                                                                     17PageID
                                                                        PageID#:#:959
                                                                                   941



  on such document, information or material as follows: “CONFIDENTIAL” or “RESTRICTED -

  ATTORNEYS’ EYES ONLY.”                  The legend “CONFIDENTIAL” or “RESTRICTED -

  ATTORNEYS’ EYES ONLY” shall be placed clearly on each page of the Protected Material (except

  deposition and hearing transcripts) for which such protection is sought. Where affixing the legend

  to each page in an electronic document is impractical (e.g., spreadsheets produced in native

  format), the filename of the electronic document shall contain the appropriate legend.            For

  deposition and hearing transcripts, the legend “CONFIDENTIAL” or “RESTRICTED -

  ATTORNEYS’ EYES ONLY” shall be placed on the cover page of the transcript (if not already

  present on the cover page of the transcript when received from the court reporter) by each attorney

  receiving a copy of the transcript after that attorney receives notice of the designation of

  some or all of that transcript as “CONFIDENTIAL” or “RESTRICTED - ATTORNEYS’ EYES

  ONLY”

         2.      Any document produced before issuance of this Order with the designation

  “Confidential” or “RESTRICTED - ATTORNEYS’ EYES ONLY” shall receive the same

  treatment as if designated “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order,

  unless and until such document is redesignated to have a different classification under this Order.

         3.      With     respect    to    documents,     information     or    material    designated

  “CONFIDENTIAL,” or “RESTRICTED - ATTORNEYS’ EYES ONLY,”1 subject to the

  provisions herein and unless otherwise stated, this Order governs, without limitation: (a) all

  documents, electronically stored information, and/or things as defined by the Federal Rules of

  Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits or



         1
            The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
  to the class of materials designated as “CONFIDENTIAL,” or “RESTRICTED - ATTORNEYS’
  EYES ONLY,” both individually and collectively.



                                                    2
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page34ofof16
                                                                     17PageID
                                                                        PageID#:#:960
                                                                                   942



  for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings and other

  court filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts, digests and

  complete or partial summaries prepared from any DESIGNATED MATERIALS shall also be

  considered DESIGNATED MATERIAL and treated as such under this Order.

         4.      A designation of Protected Material (i.e., “CONFIDENTIAL,” or “RESTRICTED

  -ATTORNEYS’ EYES ONLY,”) may be made at any time.                       Inadvertent or unintentional

  production of documents, information or material that has not been designated as DESIGNATED

  MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential treatment.

  Any party that inadvertently or unintentionally produces Protected Material without designating it

  as DESIGNATED MATERIAL may request destruction of that Protected Material by notifying the

  recipient(s), as soon as reasonably possible after the producing Party becomes aware of the

  inadvertent or unintentional disclosure, and providing replacement Protected Material that is

  properly designated. The recipient(s) shall then destroy all copies of the inadvertently or

  unintentionally produced Protected Materials and any documents, information or material derived

  from or based thereon.

         5.      “CONFIDENTIAL” documents, information and material may be disclosed only

  to the following persons, except upon receipt of the prior written consent of the designating party,

  or upon order of the Court, or as set forth in paragraph 12 herein:

              (a) outside counsel of record in this Action for the Parties;

              (b) employees of such o u t s i d e counsel assigned to and reasonably necessary to

                 assist such counsel in the litigation of this Action;

              (c) in-house counsel for the Parties who either have responsibility for making decisions

                 dealing directly with the litigation of this Action or who are assisting outside




                                                    3
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page45ofof16
                                                                     17PageID
                                                                        PageID#:#:961
                                                                                   943



                     counsel in the litigation of this Action;

                (d) up to and including three (3) designated representatives of each side, listed below, to

                     whom the disclosure is reasonably necessary for the litigation of this Action, and who

                     have completed the Undertaking attached as Appendix A hereto. Either party may

                     in good faith request the other party’s consent to designate one or more additional

                     representatives, the other party shall not unreasonably withhold such consent, and

                     the requesting party may seek leave of Court to designate such additional

                     representative(s) if the requesting party believes the other party has unreasonably

                     withheld such consent;

                (e) outside consultants or experts (i.e., not existing employees or affiliates of a Party or

                     an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)

                     such consultants or experts are not presently employed by the Parties hereto for

                     purposes other than this Action; (2) at least ten (10) days before access to the

                     Protected Material is to be given to the consultant or expert, the producing Party

                     makes a written request to the designating Party that (i) sets forth the full name of the

                     consultant or expert and the city and the state of his or her primary residence, (ii)

                     attaches a current curriculum vitae of the consultant or expert, (iii) identifies the

                     consultant or expert’s current employer(s) and (iv) identifies each person or entity

                     from whom the consultant or expert has received compensation or funding for work

                     in his or her areas of expertise or to whom the consultant or expert has provided

                     professional services, including in connection with a litigation, at any time during

                     the preceding five years,2 and (v) identifies (by name and number of the case, filing


  2
    If the consultant or expert believes any of this information is subject to a confidentiality obligation to a third-party,
  then the consultant or expert should provide whatever information the consultant or expert believes can be disclosed




                                                               4
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page56ofof16
                                                                     17PageID
                                                                        PageID#:#:962
                                                                                   944



                    date, and location of court) any litigation in connection with which the consultant

                    or expert has offered expert testimony, including through a declaration, report, or

                    testimony at a deposition or trial, during the preceding five years; and (3) the

                    consultants or experts have signed the Undertaking (Appendix A) hereto. A Party

                    that makes a request and provides the information specified above may disclose the

                    Protected Material unless, within 10 days of delivering the request, the Party

                    receives a written objection from the designating Party. The Parties agree to

                    promptly confer and use good faith to resolve any such objection. If the Parties are

                    unable to resolve any objection, the objecting Party may file a motion with the Court

                    within fifteen (15) days of the notice, or within such other time as the Parties may

                    agree, seeking a protective order with respect to the proposed disclosure. The

                    objecting Party shall have the burden of proving the need for a protective order. No

                    disclosure shall occur until all such objections are resolved by agreement or Court

                    order;

               (f) mock jurors who have signed the Undertaking (Appendix A);

               (g) independent litigation support services, including persons working for or as court

                    reporters, graphics or design services, jury or trial consulting services, and

                    photocopy, document imaging, and database services retained by counsel and

                    reasonably necessary to assist counsel with the litigation of this Action who have

                    signed the Undertaking (Appendix A). For avoidance of doubt, only one person is

                    required to sign on behalf of any particular entity (e.g., a Court reporter’s signature

                    will cover their staff); and


  without violating any confidentiality agreements, and the Party seeking to disclose to the consultant or expert shall
  be available to meet and confer with the designating Party regarding any such engagement.




                                                            5
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page67ofof16
                                                                     17PageID
                                                                        PageID#:#:963
                                                                                   945



              (h) the Court and its personnel.

         6.      A    Party    shall    designate   documents,      information    or    material   as

  “CONFIDENTIAL” only upon a good faith belief that the documents, information or material

  contains confidential or proprietary information or trade secrets of the Party or a Third Party to

  whom the Party reasonably believes it owes an obligation of confidentiality with respect to such

  documents, information or material.

         7.      Documents, information or material produced pursuant to any discovery request

  in this Action, including but not limited to Protected Material designated as DESIGNATED

  MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not be used

  for any other purpose. Any person or entity who obtains access to DESIGNATED MATERIAL or

  the contents thereof pursuant to this Order shall not make any copies, duplicates, extracts,

  summaries or descriptions of such DESIGNATED MATERIAL or any portion thereof except as

  may be reasonably necessary in the litigation of this Action. Any such copies, duplicates, extracts,

  summaries or descriptions shall be classified DESIGNATED MATERIALS and subject to all of

  the terms and conditions of this Order.

         8.      Any individual listed in paragraph 5(c) or 5(d) who has accessed DESIGNATED

  MATERIAL under this Order may not be involved in the preparation or prosecution before the

  United States Patent and Trademark Office or any foreign patent office of any patent, patent

  application, or draft or revise patent claims, supervise, or assist in the preparation or prosecution

  of any patent application claiming the particular technology or information disclosed in such

  documents for a period ending one (1) year after: (i) the complete resolution of this case through

  entry of a final non-appealable judgment or order for which appeal has been exhausted; (ii) the

  complete settlement of all claims against the producing party in this action; or (iii) the individual




                                                    6
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page78ofof16
                                                                     17PageID
                                                                        PageID#:#:964
                                                                                   946



  person(s) cease to represent the receiving party or respective client in this case. For purposes of

  this paragraph, prohibited prosecution shall include, without limitation: invention identification,

  invention evaluation, the decision regarding whether to file a patent application for an invention,

  preparation of and/or amendments to original, continuation, divisional, continuation-in-part,

  request for continued examination, reissue, substitute, renewal or convention patent applications,

  claim drafting, or the drafting of any such documents to be filed with the United States Patent and

  Trademark Office or any foreign patent office. Such prohibited prosecution activities do not

  include participation in reexamination proceedings, inter partes review proceedings, covered

  business method review proceedings, or post-grant review proceedings.

         9.      To the extent a producing Party believes that certain Protected Material qualifying

  to be designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

  limitation, the producing Party may designate such Protected Material “RESTRICTED --

  ATTORNEYS’ EYES ONLY.”

         10.     For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

  access to, and disclosure of, such Protected Material shall be limited to individuals listed in

  paragraphs 5(a-c) and (e-h); provided, however, that access by in-house counsel pursuant to

  paragraph 5(c) be limited to in-house counsel who exercise no competitive decision-making

  authority on behalf of the client.

         11.     Nothing in this Order shall require production of documents, information or other

  material that a Party contends is protected from disclosure by the attorney-client privilege, the work

  product doctrine, or other privilege, doctrine, or immunity. The Parties will not be required to

  identify on their privilege logs any document or information dated or created on or after the

  filing date of this action. If documents, information or other material subject to a claim of




                                                    7
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page89ofof16
                                                                     17PageID
                                                                        PageID#:#:965
                                                                                   947



  attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity is

  inadvertently or unintentionally produced, such production shall in no way prejudice or otherwise

  constitute a waiver of, or estoppel as to, any such privilege, doctrine, or immunity. Any Party that

  inadvertently or unintentionally produces documents, information or other material it reasonably

  believes are protected under the attorney-client privilege, work product doctrine, or other privilege,

  doctrine, or immunity may obtain the return or destruction of such documents, information or

  other material by promptly notifying the recipient(s). The recipient(s) shall promptly gather and

  return or destroy all copies of such documents, information or other material to the producing

  Party, except for any pages containing privileged or otherwise protected markings by the

  recipient(s), which pages must be destroyed and certified as such to the producing Party. Any

  destruction under this paragraph shall be and certified as such by the receiving Party to the

  producing Party. The producing Party shall promptly provide a privilege log for the inadvertently

  or unintentionally produced documents, information or other material. Any motion to the Court

  challenging the producing Party’s claim(s) of privilege or immunity may mention the fact that the

  document or information was previously inadvertently or unintentionally produced, but shall not

  assert as a ground for production the fact of the inadvertent production, nor shall the motion

  disclose or otherwise use the content of the inadvertently produced document or information

  (beyond any information appearing on the privilege log) in any way. Notwithstanding this

  provision, outside litigation counsel of record are not required to delete information that may reside

  on their respective firm’s electronic back-up systems that are over-written in the normal course of

  business.

         12.     There shall be no disclosure of any DESIGNATED MATERIAL by any person

  authorized to have access thereto to any person who is not authorized for such access under this




                                                    8
 Case2:19-cv-06125-JMA-SIL
Case   2:19-cv-06125-JMA-SIL Document
                              Document43-1
                                       44 Filed
                                           Filed 03/24/20
                                                 03/23/20 Page
                                                          Page 910ofof1617PageID
                                                                           PageID#:#:966
                                                                                      948



  Order. The Parties are hereby ORDERED to safeguard all such documents, information and

  material to protect against disclosure to any unauthorized persons or entities.

         13.     Nothing contained herein shall be construed to prejudice any Party’s right to

  use any DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

  the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have access

  to the DESIGNATED MATERIAL by virtue of his or her employment with the designating party,

  (ii) identified in the DESIGNATED MATERIAL as an author, addressee, or copy recipient of such

  information, (iii) although not identified as an author, addressee, or copy recipient of such

  DESIGNATED MATERIAL, has, otherwise possessed or knew such DESIGNATED

  MATERIAL, (iv) a current or former officer, director or employee of the producing Party or a

  current or former officer, director or employee of a company affiliated with the producing Party;

  (v) counsel for a Party, including outside counsel and in-house counsel (subject to paragraphs 5

  and 9 of this Order); (vi) an independent contractor, consultant, and/or expert retained for the

  purpose of this litigation; (vii) court reporters and videographers; (viii) the Court; or (ix) other

  persons entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL

  shall not be disclosed to any other persons unless prior authorization is obtained from counsel

  representing the producing Party or from the Court.

         14.     Parties may, at the deposition or hearing or within thirty (30) days after receipt

  of a deposition or hearing transcript, designate the deposition or hearing transcript or any portion

  thereof as “CONFIDENTIAL,” or “RESTRICTED - ATTORNEY’ EYES ONLY,” pursuant to

  this Order. Access to the deposition or hearing transcript so designated shall be limited in

  accordance with the terms of this Order.       Until expiration of the 30-day period, the entire

  deposition or hearing transcript shall be treated as “CONFIDENTIAL,” or “RESTRICTED -




                                                   9
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page10
                                                               11ofof16
                                                                      17PageID
                                                                         PageID#:#:967
                                                                                    949



  ATTORNEY’ EYES ONLY.”            Applications to file documents under seal shall be filed
                                   pursuant to Administrative Order 2004-05. /s/ SIL
          15.     Any DESIGNATED MATERIAL that is filed with the Court shall be filed under

  seal and shall remain under seal until further order of the Court. The filing party shall be responsible

  for informing the Clerk of the Court that the filing should be sealed and for placing the legend

  “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the caption and

  conspicuously on each page of the filing. Exhibits to a filing shall conform to the labeling

  requirements set forth in this Order. If a pretrial pleading filed with the Court, or an exhibit thereto,

  discloses or relies on confidential documents, information or material, such confidential portions

  shall be redacted to the extent necessary and the pleading or exhibit filed publicly with the Court.

          16.     The Order applies to pretrial discovery. Nothing in this Order shall be deemed to

  prevent the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

  this Action, or from using any information contained in DESIGNATED MATERIAL at the trial

  of this Action, subject to any pretrial order issued by this Court.

          17.     A Party may request in writing to the other Party that the designation given to any

  DESIGNATED MATERIAL be modified or withdrawn. To avoid ambiguity as to whether a

  challenge has been made, the written notice must recite that the challenge to confidentiality is

  being made in accordance with this specific paragraph of the Protective Order. The parties shall

  attempt to resolve each challenge in good faith and must begin the process by conferring directly

  (in voice to voice dialogue; other forms of communication are not sufficient) within 14 days of the

  date of service of notice. In conferring, the challenging Party must explain the basis for its belief

  that the confidentiality designation was not proper and must give the designating Party an

  opportunity to review the designated material, to reconsider the circumstances, and, if no change

  in designation is offered, to explain the basis for the chosen designation. A challenging Party may




                                                     10
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page11
                                                               12ofof16
                                                                      17PageID
                                                                         PageID#:#:968
                                                                                    950



  proceed to the next stage of the challenge process only if it has engaged in this meet and confer

  process first or establishes that the designating Party is unwilling to participate in the meet and

  confer process in a timely manner.

         18.     If the Parties cannot resolve a challenge without court intervention, the designating

  Party shall file and serve a motion to retain confidentiality within 21 days of the initial notice of

  challenge or within 14 days of the parties agreeing that the meet and confer process will not resolve

  their dispute, whichever is earlier. Each such motion must be accompanied by a competent

  declaration affirming that the movant has complied with the meet and confer requirements imposed

  in the preceding paragraph. Failure by the designating Party to make such a motion including the

  required declaration within 21 days (or 14 days, if applicable) shall automatically waive the

  confidentiality designation for each challenged designation. In addition, the challenging Party may

  file a motion challenging a confidentiality designation at any time if there is good cause for doing

  so, including a challenge to the designation of a deposition transcript or any portions thereof. Any

  motion brought pursuant to this provision must be accompanied by a competent declaration

  affirming that the movant has complied with the meet and confer requirements imposed by the

  preceding paragraph.

         19.     The burden of persuasion in any such challenge proceeding shall be on the

  designating Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or

  impose unnecessary expenses and burdens on other parties) may expose the challenging Party to

  sanctions. Unless the designating Party has waived the confidentiality designation by failing to file

  a motion to retain confidentiality as described above, all parties shall continue to afford the material

  in question the level of protection to which it is entitled under the producing Party’s designation

  until the court rules on the challenge.




                                                    11
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page12
                                                               13ofof16
                                                                      17PageID
                                                                         PageID#:#:969
                                                                                    951



         20.      Each outside consultant or expert to whom DESIGNATED MATERIAL is

  disclosed in accordance with the terms of this Order shall be advised by counsel of the terms of

  this Order, shall be informed that he or she is subject to the terms and conditions of this Order, and

  shall sign an acknowledgment that he or she has received a copy of, has read, and has agreed to

  be bound by this Order. A copy of the acknowledgment form is attached as Appendix A.

         21.      If a Party is served with a subpoena or a court order issued in other litigation that

  compels disclosure of any information or items designated in this action as DESIGNATED

  MATERIAL that Party must:

               (a) promptly notify in writing the designating party. Such notification shall include a

                  copy of the subpoena or court order;

               (b) promptly notify in writing the party who caused the subpoena or order to issue in

                  the other litigation that some or all of the material covered by the subpoena or order

                  is subject to this Order. Such notification shall include a copy of this Order; and

               (c) cooperate with respect to all reasonable procedures sought to be pursued by the

                  designating party whose Protected Material may be affected.

         22.      If the designating party timely seeks a protective order, the Party served with the

  subpoena or court order shall not produce any information designated in this action as

  DESIGNATED MATERIAL before a determination by the court from which the subpoena or

  order issued, unless the Party has obtained the designating party’s permission. The designating

  party shall bear the burden and expense of seeking protection in that court of its confidential

  material – and nothing in these provisions should be construed as authorizing or encouraging a

  receiving Party in this action to disobey a lawful directive from another court.

         23.      To the extent that any discovery is taken of persons who are not Parties to this




                                                   12
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page13
                                                               14ofof16
                                                                      17PageID
                                                                         PageID#:#:970
                                                                                    952



  Action (“Third Parties”) and in the event that such Third Parties contended the discovery sought

  involves trade secrets, confidential business information, or other proprietary information, then

  such Third Parties may agree to be bound by this Order.

         24.     To the extent that discovery or testimony is taken of Third Parties, the Third Parties

  may designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY” any

  documents, information or other material, in whole or in part, produced or given by such Third

  Parties. The Third Parties shall have ten (10) days after production of such documents, information

  or other materials to make such a designation. Until that time period lapses or until such a

  designation has been made, whichever occurs sooner, all documents, information or other material so

  produced or given shall be treated as “CONFIDENTIAL” in accordance with this Order.

         25.     Within thirty (30) days of final termination of this Action, including any

  appeals, all DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

  summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

  incorporated into any privileged memoranda of the Parties and materials which have been admitted

  into evidence in this Action), shall at the producing Party’s election either be returned to the

  producing Party or be destroyed. The receiving Party shall verify the return or destruction by

  affidavit furnished to the producing Party, upon the producing Party’s request.

         26.     The failure to designate documents, information or material in accordance with this

  Order and the failure to object to a designation at a given time shall not preclude the filing of a

  motion at a later date seeking to impose such designation or challenging the propriety thereof. The

  entry of this Order and/or the production of documents, information and material hereunder shall

  in no way constitute a waiver of any objection to the furnishing thereof, all such objections being

  hereby preserved.




                                                  13
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page14
                                                               15ofof16
                                                                      17PageID
                                                                         PageID#:#:971
                                                                                    953



         27.     Any Party knowing or believing that any other party is in violation of or intends to

  violate this Order and has raised the question of violation or potential violation with the opposing

  party and has been unable to resolve the matter by agreement may move the Court for such relief

  as may be appropriate in the circumstances. Pending disposition of the motion by the Court, the

  Party alleged to be in violation of or intending to violate this Order shall discontinue the

  performance of and/or shall not undertake the further performance of any action alleged to

  constitute a violation of this Order.

         28.     Production of DESIGNATED MATERIAL by each of the Parties shall not be

  deemed a publication of the documents, information and material (or the contents thereof)

  produced so as to void or make voidable whatever claim the Parties may have as to the proprietary

  and confidential nature of the documents, information or other material or its contents.

         29.     Nothing in this Order shall be construed to effect an abrogation, waiver or limitation

  of any kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

         30.     Each of the Parties shall also retain the right to file a motion with the Court (a) to

  modify this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

  entities if reasonably necessary to prepare and present this Action and (b) to apply for additional

  protection of DESIGNATED MATERIAL.
                                                     SO ORDERED

                                                    /S/ SIL
  Signed this 24
              __ day of MARCH, 2020               _____________________________
                                                  JUDGE STEVEN I. LOCKE
                                                  UNITED STATES MAGISTRATE JUDGE




                                                    14
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page15
                                                               16ofof16
                                                                      17PageID
                                                                         PageID#:#:972
                                                                                    954



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NEW YORK


   SIGNIFY NORTH AMERICA CORPORATION
   and SIGNIFY HOLDING B.V.
                                                           Civil Action No. 2:19-cv-06125-JMA-SIL
                                    Plaintiffs,

   v.

   SATCO PRODUCTS, INC.

                                    Defendant.


                                         APPENDIX A
                      UNDERTAKING REGARDING PROTECTIVE ORDER
             I, ___________________________________________, declare that:

        1.      My address is _________________________________________________________.

                My current employer is _________________________________________________.

                My current occupation is ________________________________________________.

        2.      I have received a copy of the Protective Order in this action. I have carefully read and

                understand the provisions of the Protective Order.

        3.      I will comply with all of the provisions of the Protective Order. I will hold in

                confidence, will not disclose to anyone not qualified under the Protective Order, and

                will use only for purposes of this action any information designated as

                “CONFIDENTIAL,” or “RESTRICTED -- ATTORNEYS’ EYES ONLY” that is

                disclosed to me.

        4.      Promptly upon termination of these actions, I will return all documents and things

                designated as      “CONFIDENTIAL,” or “RESTRICTED -- ATTORNEYS’ EYES

                ONLY” that came into my possession, and all documents and things that I have




                                                     1
 Case2:19-cv-06125-JMA-SIL
Case  2:19-cv-06125-JMA-SIL Document
                             Document43-1
                                      44 Filed
                                          Filed03/24/20
                                                03/23/20 Page
                                                          Page16
                                                               17ofof16
                                                                      17PageID
                                                                         PageID#:#:973
                                                                                    955



             prepared relating thereto, to the outside counsel for the party by whom I am employed.

     5.      I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

             Protective Order in this action.

          I declare under penalty of perjury that the foregoing is true and correct.

  Signature ________________________________________

  Date ____________________________________________




                                                    2
